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                      IN THE UNITED STATES DISTRICT COURT FOR THE
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                               EASTERN DISTRICT OF CALIFORNIA
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10
       UNITED STATES OF AMERICA,           )               CR-05-202 AWI
11                                         )
                         Plaintiff,        )               ORDER MOVING
12                                         )               SENTENCING HEARING TO
             v.                            )               NOVEMBER 13, 2006, AT 9:00
13                                         )               A.M.
       JOSE ROSARIO GARCIA                 )
14                                         )
                         Defendant.        )
15     ____________________________________)
16
17          On November 2, 2006, the Court received a request from the Defendant’s counsel to
18   move the stating that the sentencing of Defendant from November 6, 2006, to November 13,
19   2006. The request stated that the United States had no objection to this request. The Court
20   construes Defendant’s request as a stipulated request to move the sentencing.
21          Accordingly, IT IS HEREBY ORDERED that the sentencing hearing of Defendant
22   Garcia that is currently scheduled for November 6, 2006, is VACATED, and that the new
23   sentencing hearing will be at 9:00 a.m. on November 13, 2006.
24
25   IT IS SO ORDERED.
26   Dated:    November 2, 2006                        /s/ Anthony W. Ishii
     0m8i78                                      UNITED STATES DISTRICT JUDGE
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